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13   Attorneys for Defendants
     Ryder Ripps and Jeremy Cahen
14
15                        UNITED STATES DISTRICT COURT
16                       CENTRAL DISTRICT OF CALIFORNIA
17                                 WESTERN DIVISION
18                                                  Case No. 2:22-cv-04355-JFW-JEM
19    Yuga Labs, Inc.,
                                                    DISCOVERY MATTER
20                                     Plaintiff,
21                                                  NOTICE OF MOTION AND
            v.                                      MOTION RE DEFENDANTS
22                                                  RYDER RIPPS AND JEREMY
23    Ryder Ripps, Jeremy Cahen, Does 1-10,         CAHEN’S MOTION TO DE-
                                                    DESIGNATE
24
25                                Defendants.       Magistrate Judge: Hon. J. E. McDermott
                                                    Hearing: March 21, 2023, at 10:00 a.m.
26                                                  Discovery Cut-off Date: April 3, 2023
27                                                  Pre-Trial Conference Date: June 9, 2023
                                                    Trial Date: June 27, 2023
28

      Case No. 2:22-cv-04355-JFW-JEM                                  NOTICE OF MOTION
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 1                 NOTICE OF MOTION AND MOTION TO COMPEL
 2         TO THE HONORABLE COURT, ALL PARTIES, AND THEIR COUNSEL
 3   OF RECORD.
 4         PLEASE TAKE NOTICE THAT on March 21, 2023, at 10:00 A.M., or as soon
 5   thereafter as the matter may be heard, in the United States District Court, Central
 6   District of California, located at 255 E. Temple Street, Los Angeles, California
 7   90012, Courtroom 640, 6th Floor, before the Honorable John E. McDermott,
 8   Defendants Ryder Ripps and Jeremy Cahen will move, and hereby do move, for an
 9   order de-designating the deposition testimony of pro se third party Ryan Hickman
10   This motion is made following a conference of counsel pursuant to Local Rule 37-1
11   which took place on February 6, 2023.
12
13
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15
16   Dated: February 14, 2023                By: /s/ Derek Gosma
17                                               Louis W. Tompros (pro hac vice)
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 1
                                            Attorneys for Defendants
 2                                          Ryder Ripps and Jeremy Cahen
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 1                             CERTIFICATE OF SERVICE
 2         I hereby certify that a copy of the foregoing document was served on all
 3   attorneys of record via the Court’s ECF system on February 14, 2023.
 4
 5
 6                                          By: /s/ Derek Gosma
 7                                              Derek Gosma
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     Case No. 2:22-cv-04355-JFW-JEM                                   NOTICE OF MOTION
